Case 1:05-cr-100l7-.]DT Document 7 Filed 06/10/05 Page 1 of 2 Page|D 8

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uNITED sTATEs DISTRICT COURT 05 ` ‘

WESTERN DISTRICT 0F TENNESSEE JUN l 3 AH 82 15
Eastern Division

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UNITED sTATEs 0F AMERICA W’L[§R§FUT-§j gregg

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-vs- Case No. 1:05cr10017-01T
GEORGE ELVIN ALLRED

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

- The F ederal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
' All purposes including trial and appeal

DONE and ORDERED in lll South Highland, Jackson, TN this /Oi-L- day ofJune,
2005.

Tm

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
Intake

GEORGE ELVIN ALLRED

This document entered on the docket sheet in compliance
with sure 55 and/or 32(1:.) FHCrP on ' 3‘“

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CR-100]7 Was distributed by faX, mail, or direct printing on
J unc 13, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
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Ste. B-S

Jacl<son7 TN 38301

Victor Lee Ivy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

